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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF IOWA



TORPIN TOKPA, on behalf of himself and all   Case No. 4:20-cv-00144
others similarly situated,

                        Plaintiff,           CLASS ACTION COMPLAINT
      v.                                     JURY TRIAL DEMANDED


DISCOVER FINANCIAL SERVICES, INC.


                        Defendant.
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       Plaintiff Torpin Tokpa (“Plaintiff” or “Mr. Tokpa”), individually, and on behalf of all

others similarly situated, alleges the following on information and belief against Discover

Financial Services, Inc. (“Discover” or “Defendant”) regarding Defendant’s violations of the

Telephone Consumer Protection Act (TCPA). Plaintiff brings this Complaint to: (1) stop

Defendant’s practice of placing calls using an “automatic telephone dialing system” (ATDS) to

the cellular telephones of consumers nationwide without their prior express written consent; (2)

enjoin Defendant from continuing to place autodialed telephone calls to consumers who did not

provide their prior express written consent to receive them, and (3) obtain redress for all persons

injured by its conduct.

                                 NATURE OF THE ACTION

       1.      This is a class action against Discover Financial Services, Inc. for its widespread,

pervasive violations of the TCPA.

       2.      Discover called Mr. Tokpa’s cellular telephone at least two times using an

automatic telephone dialing system, including two calls on March 20, 2020, from telephone

number (614) 758-2344.

       3.      Plaintiff is not a customer of Defendant, and has no prior relationship with

Defendant.

       4.      Plaintiff never provided express written consent to be called by Defendant.

       5.      The unlawful calls placed to Plaintiff is part of Defendant’s pattern of practice of

calling consumers on their cellular telephones using an autodialer who have no direct

relationship with Defendant, and are not the proper subjects of Defendant’s calls.




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       6.      Defendant placed these calls with a predictive dialer with the present capacity to

function as an autodialer by generating random or sequential telephone numbers and dialing

those numbers.

       7.      Defendant conducted (and continues to conduct) a wide-scale campaign that

features the repeated making of unwanted autodialed phone calls to consumers’ cellular

telephones without prior express written consent, all in violation of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 (the “TCPA”).

       8.      By making these autodialed calls, Defendant caused Plaintiff and the members

of the Classes actual harm and cognizable legal injury. This includes the aggravation and

nuisance and invasions of privacy that result from the receipt of such calls, in addition to the

consumption of battery life, lost cellular minutes, loss of value realized for the monies

consumers paid to their wireless carriers for the receipt of such calls, in the form of the

diminished use, enjoyment, value, and utility of their cellular telephone plans.

       9.      Furthermore, Defendant made the calls knowing they interfered with Plaintiff’s

and the other Class members’ use and enjoyment of, and the ability to access, their cellphones,

including the related data, software, and hardware components.

       10.     When Plaintiff answered Defendant’s calls, he heard a momentary pause. This

pause indicates that Defendant placed the calls at issue with a predictive dialer with the present

capacity to function as an autodialer by generating random or sequential telephone numbers and

dialing those numbers.

       11.     Plaintiff did not give Defendant prior express written consent to make these calls.




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       12.     Upon receiving the first call, Plaintiff informed Defendant that it had dialed the

wrong number. Defendant nonetheless called Plaintiff again, and once again Plaintiff informed

Defendant that it dialed the wrong number.

       13.     Plaintiff brings this action for injunctive relief and statutory damages arising out

of and relating to the conduct of Defendant in negligently, knowingly, and willfully contacting

Plaintiff and class members on their telephones using an ATDS without their prior express

written consent within the meaning of the TCPA.

                                           PARTIES

       14.     Plaintiff Torpin Tokpa is, and at all times mentioned herein was, a resident of

Ottumwa, Iowa, and a citizen of the State of Iowa.

       15.     Defendant Discover Financial Services, Inc. is a Delaware corporation with a

principle place of business at 2500 Lake Cook Road, Riverwoods, IL 60015.

       16.     Defendant conducts business throughout this District and the State of Iowa.

                               JURISDICTION AND VENUE

       17.     This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which, inter alia, amends 28

U.S.C. § 1332, at new subsection (d), conferring federal jurisdiction over class actions where,

as here: (a) there are 100 or more members in the proposed class; (b) some members of the

proposed class have a different citizenship from Defendant; and (c) the claims of the proposed

class members exceed the sum or value of five million dollars ($5,000,000) in aggregate. See

28 U.S.C. § 1332(d)(2) and (6).

       18.     This Court also has federal question jurisdiction pursuant to 28 U.S.C. § 1331

because this action involves violations of a federal statute, the TCPA.



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        19.     This Court has personal jurisdiction over Defendant because Defendant solicits

consumers in this District, made and continues to make unwanted autodialed calls in this

District, and because the wrongful conduct giving rise to this case occurred in, was directed to,

and/or occurred this District.

        20.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to the claim occurred in this District.

                     FACTS COMMON TO ALL CAUSES OF ACTION

A.      The TCPA of 1991

        21.     In 1991, Congress enacted the TCPA in response to a growing number of

consumer complaints regarding certain telemarketing practices.

        22.     The TCPA regulates, among other things, the use of automated telephone

equipment, or “autodialers,” defined as equipment which “has the capacity . . . (a) to store or

produce telephone numbers to be called, using a random or sequential number generator; and

(b) to dial such numbers.” 47 U.S.C. § 227(a)(1). Specifically, the plain language of section

227(b)(1)(A)(iii) prohibits the use of autodialers to make any call to a wireless number in the

absence of an emergency or the prior express consent of the called party.

        23.     The FCC has issued rulings clarifying that in order to obtain an individual’s

consent, a clear, unambiguous, and conspicuous written disclosure must be provided by the

individual. 2012 FCC Order, 27 FCC Rcd. at 1839 (“[R]equiring prior written consent will

better protect consumer privacy because such consent requires conspicuous action by the

consumer—providing permission in writing—to authorize autodialed or prerecorded

telemarketing calls. . . ”.).




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B.     Defendant’s Calls to Plaintiff and Class Members

       24.      Plaintiff has never been a customer of Defendant.

       25.      Defendant called Plaintiff at least twice, including two calls on March 20, 2020

from telephone number (614) 758-2344, using an autodialer without Plaintiff’s prior express

written consent. Plaintiff was not the intended recipient of the call.

       26.      Defendant owns the telephone number (614) 758-2344. In fact, when the number

is dialed back, an automation answers which states: “Thank you for calling Discover . . .”.

       27.      Specifically, the hardware and software used by Defendant placed the calls at

issue with a predictive dialer with the present capacity to function as an autodialer by generating

random or sequential telephone numbers and dialing those numbers, en masse, in an automated

fashion without human intervention.

       28.      Defendant’s automated dialing equipment also is, or includes features

substantially similar to, a predictive dialer, meaning that it is capable of making numerous phone

calls simultaneously and automatically connecting answered calls to then-available callers and

disconnecting the rest (all without human intervention).

       29.      When Plaintiff answered Defendant’s calls, he heard a momentary pause before

someone started speaking to him. This pause indicates that Defendant placed the calls at issue

with a predictive dialer: equipment with the present capacity to function as an autodialer by

generating random or sequential telephone numbers and dialing those numbers without human

intervention.

       30.      Plaintiff’s situation is not unique because when placing these calls to consumers,

Defendant fails to obtain prior express written consent as required by the TCPA from cellular




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telephone owners/users to make such calls, and routinely makes calls to consumers who are not

the intended recipients of the calls.

       31.     At all times material to this Complaint, Defendant was and is fully aware that

unwanted autodialed telemarketing calls are being made to consumers’ cellular telephones

through its own efforts and their agents.

       32.     Defendant knowingly made (and continues to make) autodialed and prerecorded

solicitation calls to cellular telephones without the prior express written consent of the call

recipients. In so doing, Defendant not only invaded the personal privacy of Plaintiff and

members of the putative Class, but also intentionally and repeatedly violated the TCPA.

                              CLASS ACTION ALLEGATIONS

       33.     Plaintiff brings this action on behalf of himself and on behalf of all other persons

similarly situated.

       34.     Plaintiff proposes the following Class definition:

               All persons within the United States who were not listed in Defendant’s records
               as the intended recipient of a telephone call, and from four years prior to the filing
               of this action to the date that class notice is disseminated, received from or on
               behalf of Defendant one or more telephone calls on their cellular telephone.

       35.     Plaintiff represents, and is a member of, this proposed Cass. Excluded from the

Class is Defendant and any entities in which Defendant has a controlling interest, Defendant’s

agents and employees, any Judge and/or Magistrate Judge to whom this action is assigned and

any member of such Judges’ staffs and immediate families.

       36.     Plaintiff does not know the exact number of members in the proposed Class, but

reasonably believes, based on the scale of Defendant’s business, that the class is so numerous

that individual joinder would be impracticable.




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       37.     Plaintiff and all members of the proposed Class have been harmed by the acts of

Defendant in the form of multiple involuntary telephone and electrical charges, the aggravation,

nuisance, and invasion of privacy that necessarily accompanies the receipt of unsolicited and

harassing telephone calls, and violations of their statutory rights.

       38.     The disposition of the claims in a class action will provide substantial benefit to

the parties and the Court in avoiding a multiplicity of identical suits.

       39.     The proposed class can be identified easily through records maintained by

Defendant.

       40.     There are well defined, nearly identical, questions of law and fact affecting all

parties. The questions of law and fact involving the class claims predominate over questions

which may affect individual members of the proposed class. Those common question of law

and fact include, but are not limited to, the following:

               a.    Whether Defendant made telephone calls to Plaintiff and class members
                     using an autodialer without their prior express written consent;

               b.    Whether Defendant’s conduct was knowing and/or willful;

               c.    Whether Defendant is liable for damages, and the amount of such damages;
                     and

               d.    Whether Defendant should be enjoined from engaging in such conduct in
                     the future.

       41.     Plaintiff asserts claims that are typical of each member of the class because he is

a person who received at least one call on his cellular telephone using an autodialer without his

prior express written consent.

       42.     Plaintiff will fairly and adequately represent and protect the interests of the

proposed class, and has no interests which are antagonistic to any member of the proposed class.




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        43.     Plaintiff has retained counsel experienced in handling class action claims

involving violations of federal and state consumer protection statutes.

        44.     A class action is the superior method for the fair and efficient adjudication of this

controversy.

        45.     Class-wide relief is essential to compel Defendant to comply with the TCPA.

        46.     The interest of the members of the proposed class in individually controlling the

prosecution of separate claims against Defendant is small because the statutory damages in an

individual action for violation of the TCPA are relatively small.

        47.     Management of these claims is likely to present significantly fewer difficulties

than are presented in many class claims because the calls at issue are all automated and the

members of the class, by definition, did not provide the prior express consent required under the

statute to authorize calls to their telephones.

        48.     Defendant has acted on grounds generally applicable to the proposed class,

thereby making final injunctive relief and corresponding declaratory relief with respect to the

proposed class as a whole appropriate.

        49.     Moreover, on information and belief, Plaintiff alleges that the TCPA violations

complained of herein are substantially likely to continue in the future if an injunction is not

entered.

                                  FIRST CAUSE OF ACTION

KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
          PROTECTION ACT (“TCPA”), 47 U.S.C. § 227, et seq.

        50.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.




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        51.     The foregoing acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each of the above-

cited provisions of 47 U.S.C. § 227 et seq.

        52.     As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227

et seq., Plaintiff and members of the proposed class are entitled to treble damages of up to

$1,500.00 for each and every call in violation of the statute, pursuant to 47 U.S.C.§ 227(b)(3)(C).

        53.     Plaintiff and members of the proposed class are also entitled to and do seek

injunctive relief prohibiting such conduct violating the TCPA by Defendant in the future.

        54.     Plaintiff and members of the proposed class are also entitled to an award of

attorneys’ fees and costs.

                               SECOND CAUSE OF ACTION

 VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT (“TCPA”),
                        47 U.S.C. § 227, et seq.

        55.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

        56.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the TCPA, including but not limited to each of the above-cited provisions of 47

U.S.C. § 227 et seq.

        57.     As a result of Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff and

members of the proposed class are entitled to an award of $500.00 in statutory damages for each

and every call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

        58.     Plaintiff and members of the proposed class are also entitled to, and do, seek

injunctive relief prohibiting such conduct violating the TCPA by Defendant in the future.




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        59.     Plaintiff and members of the proposed class are also entitled to an award of

attorneys’ fees and costs.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all

members of the proposed class the following relief against Defendant:

                a.   Injunctive relief prohibiting such violations of the TCPA by Defendant in
                     the future;

                b.   As a result of Defendant’s willful and/or knowing violations of the TCPA,
                     Plaintiff seeks for himself and each member of the proposed Class treble
                     damages, as provided by statute, of up to $1,500.00 for each and every call
                     that violated the TCPA;

                c.   As a result of Defendant’s violations of the TCPA, Plaintiff seeks for himself
                     and each member of the proposed Class $500.00 in statutory damages for
                     each and every call that violated the TCPA;

                d.   An award of attorneys’ fees and costs to counsel for Plaintiff and the
                     proposed class;

                e.   An order certifying this action to be a proper class action pursuant to Federal
                     Rule of Civil Procedure 23, establishing appropriate class, finding that
                     Plaintiff is a proper representative of the class, and appointing the lawyers
                     and law firm representing Plaintiff as counsel for the class;

                f.   Such other relief as the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL
        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of

any and all issues in this action so triable of right.




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Dated: May 7, 2020                 Respectfully submitted,

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                                   By:    /s/ James C. Larew

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